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                  IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION



UNITED STATES OF AMERICA                                                     PLAINTIFF

vs.                              NO. 4:12CR00071-004 SWW

STEPHANIE DENISE DOLPHIN                                                     DEFENDANT



                                             ORDER

       Pending before the Court is defendant’s motion for early termination of probation (doc

#142). After a review of the motion, the Court is of the opinion that a response by the United States

of America would facilitate the resolution of the motion. The Court therefore directs the United

States to respond to the motion on or before twenty (20) days after the date of entry of this Order.

       IT IS SO ORDERED this 11th day of September 2014.



                                                      /s/Susan Webber Wright

                                                      UNITED STATES DISTRICT JUDGE
